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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF VIRGINIA
                                 ROANOKE DIVISION

RILEY AMORE; and CAROLINE
PARKER,

individually and on behalf of all others
similarly situated,

            Plaintiffs,                             Case No. 7:25-cv-00229-EKD-CKM
v.

AMERICAN ASSOCIATION OF
VETERINARY CLINICIANS; SOLUTION
INNOVATIONS, INC.; VCA ANIMAL
HOSPITALS, INC.; BLUEPEARL
HOLDINGS, LLC; MEDVET
ASSOCIATES, LLC; RED BANK
VETERINARY HOSPITAL, P.C.;
UNIVERSITY OF PENNSYLVANIA
SCHOOL OF VETERINARY MEDICINE;
CUMMINGS SCHOOL OF VETERINARY
MEDICINE AT TUFTS UNIVERSITY;
COLLEGE OF VETERINARY MEDICINE
AT MIDWESTERN UNIVERSITY;
NATIONAL VETERINARY ASSOCIATES,
INC.; PIEPER-OLSON VETERINARY
PARENT, LLC; PATHWAY VET
ALLIANCE, LLC; THE ANIMAL
MEDICAL CENTER, INC.,

            Defendants.


                          DECLARATION OF PATRICK J. MCGAHAN

       I, Patrick J. McGahan, declare as follows:

       1.      I submit this Declaration in support of Roman Lifson’s Motion for Pro Hac Vice

Admission of Patrick J. McGahan.
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       2.      I am a Partner at the law firm Scott+Scott Attorneys At Law, having a telephone

number of (860) 537-5537 and a fax number of (860) 537-4432.

       3.      I am admitted to and a member in good standing of the bar of the State of New

York, No. 5770276, and am qualified and licensed to practice before the United States District

Court for the Southern District of New York.

       4.      I am applying for pro hac vice admission to the United States District Court for the

Western District of Virginia to appear and associate with Mr. Lifson only for the conduct of the

above-captioned case.

       5.      I will abide by all applicable and local rules of the United States District Court for

the Western District of Virginia, and will promptly qualify for electronic case filing as required by

Local Rule 6(d).

       I hereby declare under the penalty of perjury that the foregoing is true and correct to the

best of my knowledge.

Dated: April 18, 2025.                        /s/ Patrick J. McGahan
                                              Patrick J. McGahan
                                              New York Bar. No. 5770276
                                              156 South Main Street
                                              P.O. Box 192
                                              Colchester, CT 06145
                                              Telephone: (860) 537-5537
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